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                    UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          MAR 18 2020
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
 CERTIFIED NUTRACEUTICALS, INC., a              No.    18-56631
 California corporation,
                                                D.C. No.
                Plaintiff-Appellant,            3:16-cv-02810-BEN-BGS
                                                Southern District of California,
  v.                                            San Diego

 AVICENNA NUTRACEUTICAL, LLC, a              ORDER
 Georgia limited liability company; DOES, 1-
 10, inclusive,

                Defendants-Appellees.

       Appellant’s motion to submit this case on the briefs (Dkt. 31) is granted.

 This case will be submitted on April 3, 2020 and removed from the oral argument

 calendar.




                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT


                                                 By: Allison Fung
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
